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                     EXHIBIT I
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                      In the Matter of:
                      Sonya Larson vs
                Dawn Dorland Perry, et al




                  Sonya C. Larson Vol II
                    September 28, 2021


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     Sonya Larson vs                                                            Sonya C. Larson
     Dawn Dorland Perry, et al                                               September 28, 2021


·1· · · · · · · ·UNITED STATES DISTRICT COURT
·2· · · · · · FOR THE DISTRICT OF MASSACHUSETTS
·3· · · · · · · · C.A. No. 1:19-CV-10203-IT
·4· ·* * * * * * * * * * * * * * * * * * * * * * *
·5· ·SONYA LARSON,
·6· · · · · · · · · · · · · · Plaintiff,
·7· ·vs.
·8
·9· ·DAWN DORLAND PERRY, et al.,
10· · · · · · · · · · · · · · Defendants.
11· ·* * * * * * * * * * * * * * * * * * * * * * *
12· · · · · · · · · · · · VOLUME II
13· · · · · · · DEPOSITION OF: SONYA C. LARSON
14· · · · · · · · · · Conducted Remotely
15· · · · · · · · · · 11 Oxford Street
16· · · · · · · · · Malden, Massachusetts
17· · ·Tuesday, September 28, 2021· · · · · ·11:11 a.m.
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   Sonya Larson vs                                                            Sonya C. Larson
   Dawn Dorland Perry, et al                                               September 28, 2021
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·1· · · · Q.· What is your understanding as you sit here
·2· ·today as to the definition of the word,
·3· ·plagiarize?
·4· · · · A.· My understanding is that, when fiction
·5· ·writers describe plagiarism, they are describing the
·6· ·act of one writer's creative work portraying another
·7· ·writer's creative work as their own.
·8· · · · Q.· And does that word, creative, in your
·9· ·answer have any particular meaning to you?
10· · · · A.· Yes.
11· · · · Q.· And what is that meaning?
12· · · · A.· It means that it's not factual.· It is a
13· ·work of art.
14· · · · Q.· And where did you form -- strike that.
15· · · · · · How did you form that understanding of the
16· ·term, plagiarize?
17· · · · · · MR. EPSTEIN:· Objection.
18· · · · A.· I don't remember.
19· · · · Q.· When did you form your understanding that
20· ·you just described concerning the term,
21· ·plagiarize?
22· · · · · · MR. EPSTEIN:· Objection.
23· · · · A.· I don't remember.
24· · · · Q.· Was it before 2018?

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   Sonya Larson vs                                                            Sonya C. Larson
   Dawn Dorland Perry, et al                                               September 28, 2021
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·1· · · · A.· I don't know if I -- I don't know if she's
·2· ·the right agent for me.· I don't -- I don't know.
·3· · · · Q.· You testified that you received an -- a
·4· ·fellowship from the NEA.
·5· · · · A.· Yes.
·6· · · · Q.· What was included in your application to
·7· ·the NEA?
·8· · · · A.· I don't know if this is going to be a
·9· ·comprehensive list because I'm doing this from
10· ·memory.· I know you have the full materials of
11· ·everything that I gave to the NEA and all the
12· ·correspondence I had with the NEA.
13· · · · · · But it included, I believe, a list of
14· ·publications that I had had in the last five years
15· ·at the time of my submitting that application and
16· ·they -- I think the NEA requires that they be of a
17· ·certain distribution level or higher and that they
18· ·have to be creative works, and so I provided that
19· ·list.
20· · · · · · I believe I provided an artistic statement.
21· ·I provided "The Kindest" as a writing sample, and it
22· ·was the final BBF version of "The Kindest."                           I
23· ·provided -- I think they had me provide a bio.
24· ·There's -- I believe there was a bio.

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   Sonya Larson vs                                                            Sonya C. Larson
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·1· · · · · · Again, I'm just doing this from memory.
·2· ·And I provided the application itself, the NEA
·3· ·application is notoriously complex and complicated;
·4· ·so there's a lot of different elements that go into
·5· ·it, but that's what I remember.
·6· · · · Q.· And you ultimately were awarded a
·7· ·fellowship?
·8· · · · A.· I was.
·9· · · · Q.· And how much was that?
10· · · · A.· $25,000.
11· · · · Q.· And in many instances in your documents,
12· ·you share that news with your friends, isn't that
13· ·right?
14· · · · A.· I don't remember specifically, but yes, I
15· ·do remember telling my friends about it.
16· · · · Q.· And there were several instances where you
17· ·indicated that you received that award based on "The
18· ·Kindest," isn't that right?
19· · · · A.· "The Kindest" was one piece of that
20· ·application.
21· · · · Q.· What were the -- what other pieces would
22· ·the award have been granted on?
23· · · · · · MR. EPSTEIN:· Objection.
24· · · · A.· All of the materials that I just described

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   Sonya Larson vs                                                            Sonya C. Larson
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·1· ·to you.· The NEA application requires a lot of
·2· ·different elements.· They are all part of their
·3· ·evaluative application process.
·4· · · · Q.· But "The Kindest" was the only writing
·5· ·example you provided, correct?
·6· · · · A.· That's correct.
·7· · · · Q.· You also referenced the Elizabeth George
·8· ·Foundation grant.
·9· · · · A.· Yes.
10· · · · Q.· And was that an application that you had to
11· ·complete?
12· · · · A.· Yes.
13· · · · Q.· And what was included with that
14· ·application?
15· · · · A.· That included a letter -- it included a
16· ·letter describing why I believed myself to be a good
17· ·candidate for this grant.· It included a budget, a
18· ·detailed budget, of how I would use the funds if I
19· ·were awarded this grant.· It included a excerpt of
20· ·my novel which I believe -- I don't remember.                            I
21· ·believe it was 50 pages of the novel.· And it
22· ·included -- I did not send this myself in the
23· ·application, but it also -- the entire application
24· ·process also included letters of recommendation from

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